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                              Exhibit 30 Page 1 of 3
Case 19-34054-sgj11       Doc 4266-30 Filed 06/23/25 Entered 06/23/25 11:49:42               Desc
                                  Exhibit 30 Page 2 of 3




  From: Montgomery, Paige <pmontgomery@sidley.com>
  Sent: Wednesday, September 29, 2021 1:54 PM
  To: Patrick Daugherty <pdaugherty@glacierlakecap.com>
  Subject: RE: Dondero-Highland-NexBank: alter ego evidence and year-end tax scheming

  Thanks. No word on the Rothstein depo yet.

         From: Patrick Daugherty <pdaugherty@glacierlakecap.com>
         Sent: Wednesday, September 29, 2021 10:39 AM
         To: Montgomery, Paige <pmontgomery@sidley.com>; Newman, Deborah (EXTERNAL
         @QUINNEMANUEL.COM ) <deborahnewman@quinnemanuel.com>
         Cc: Kirschner, Marc (NON-SIDLEY @TENEO.COM) <marc.kirschner@teneo.com>; Bhavaraju,
         Karthik (NON-SIDLEY @TENEO.COM) <karthik.bhavaraju@teneo.com>; James Seery
         <jpseeryjr@gmail.com>
         Subject: Dondero-Highland-NexBank: alter ego evidence and year-end tax scheming

         Paige,

         Pursuant to your request regarding alter-ego matteres, please see attached email and
         documents (written or directed by Dondero) that show how Dondero created Barrier
         Advisors (now merged with NexBank Wealth Advisors aka NexBank Capital Advisors
         aka Barrier Advisors). Also, see an example of how fees from portfolio companies were
         directed to NexBank. The abbreviations are for the following:

                   HCM - Highland Capital Management, LP
                   JH - John Honis
                   B Advisory - Barrier Advisors (NexBank Wealth Advisors aka NexBank Securities
                  Inc)
                   B PE - was part of Barrier Advisors and moved to Highland Capital
                  Management LP as part of the private equity operations group purusant to the
                  marketing of Restoration Capital Funding (RCP) in late 2007/2008
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                 Moll - Moll Industries (a portfolio company that later changed its name to
                 NexPack at the direction of Dondero and Honis

         I also included emails that show how NexBank worked at the direction of
         Highland/Dondero to originate loans (also includes reference to HFC, owned by HFP).
         See Essex reference.

         Finally, I included a December email that shows Dondero directing asset transfers
         among varies entities controlled by Highland to reduce collective tax liabilites. This was
         an annual occurence in December (where Okada was very much aware) and it is
         consistent with his testimony in the Acis bankruptcy where he testified "What this
         transaction was and was meant to be and was never anything more was a tax strategy
         to reduce taxes", Acis Bankruptcy Transcript, March 23, 2018 pg 134. Dondero as a
         matter of practice repeatedly invaded the alleged independence of the entities he
         controlled directly or indirectly to suit his purposes.



         Patrick H Daugherty, Esq.
         President and Chief Investment Officer

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         (t) +1 214.932.9140 (m) +1 972.679.7487
         (e) pdaugherty@glacierlakecap.com


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